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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                                                                                       FILED
                                                                                        OCT 15 2020
                                                                                  Clerk, U.S. District & Bankruptcy
ANDREW U.D. STRAW,                             )                                  Court for the District of Columbia
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )       Civil Action No. 1:20-cv-02849 (UNA)
                                               )
UNITED STATES,                                 )
                                               )
               Defendant.                      )

                                  MEMORANDUM OPINION

       The plaintiff brings this suit against the United States, pursuant to the Federal Tort

Claims Act (“FTCA”) and the Americans with Disabilities Act (“ADA”). See generally Compl.,

Dkt. 1. Also before the Court is the plaintiff’s motion for leave to proceed in forma pauperis

(“IFP”) and motion for service. The court will grant the IFP motion and dismiss the complaint

for lack of subject matter jurisdiction, see Fed. R. Civ. P. 12(h)(3). The Court will also deny the

motion for service as moot.

        The plaintiff alleges claims based on (1) sanctions imposed, particularly in Indiana,

relating to his law license, see Compl. at 5, 9–10, (2) the decisions of various federal district

courts regarding his challenges to these sanctions, see id. at 2–3, 10 –11, 14, and (3) the Clerk of

the Supreme Court’s rejection of a motion for rehearing to challenge the Indiana disciplinary

proceedings, see id. at 4–9. He seeks monetary damages, id. at 23, asks the Court to declare as

unconstitutional certain Indiana Rules of Court, id. at 24, and to “declare that the U.S. Supreme

Court is the final authority on all questions of lawyer licensing,” id., and that “federal and state

court clerks are not allowed to refuse filings based on any substantive question,” id. at 25. 1


1
 The plaintiff has filed other similar cases in this Court. See, e.g., Straw v. Harris, No. 20-cv-
01281 (UNA) (D.D.C. dismissed Jun. 16, 2020); Straw v. United States, No. 18-cv-01406 (UNA)
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       To the extent that the plaintiff challenges the imposition of his license suspension, he

must seek review by Indiana’s “highest court and [such a challenge] falls outside the jurisdiction

of the federal courts.” Powell v. Nigro, 543 F. Supp. 1044, 1048 (D.D.C. 1982); see also Starr v.

State Bd. of Law Examiners of Ind., 159 F.2d 305, 306 (7th Cir. 1947) (per curiam) (“[T]he right

to practice law in State courts is not a privilege granted by the Federal Constitution . . . [t]he

Supreme Court of Indiana has exclusive jurisdiction to admit attorneys to practice law in its

courts.”) (citations omitted).

       Moreover, “neither a district court nor a circuit court of appeals has jurisdiction to

interfere with” the Supreme Court’s “supervisory authority” over the Clerk of Court. See In re

Marin, 956 F.2d 339 (D.C. Cir. 1992); Panko v. Rodak, 606 F. 2d 168, 171 n.6 (7th Cir. 1979)

(“[I]t seems axiomatic that a lower court may not order the judges or officers of a higher court to

take an action.”), cert. denied, 444 U.S. 1081 (1980). Nor does this Court have the authority to

review decisions of other federal district courts. See United States v. Choi, 818 F. Supp. 2d 79,

85 (D.D.C. 2011) (stating that federal district courts “generally lack[] appellate jurisdiction over

other judicial bodies, and cannot exercise appellate mandamus over other courts”) (citing Lewis

v. Green, 629 F. Supp. 546, 553 (D.D.C. 1986)); Fleming v. United States, 847 F. Supp. 170, 172

(D.D.C. 1994) (applying District of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 482

(1983), and Rooker v. Fidelity Trust Co., 263 U.S. 413, 415, 416 (1923)), aff’d, No. 94-5079,

1994 WL 474995 (D.C. Cir. 1994), cert. denied, 513 U.S. 1150 (1995).

       The plaintiff argues that the sanctions imposed against him under the Indiana Rules of

Court violates the ADA. See Compl. at 16–19, 24–5. But the plaintiff has sued the United


(D.D.C. dismissed Jul. 17, 2018); Straw v. United States, No. 18-cv-01172 (UNA) (D.D.C.
dismissed May 31, 2018), aff’d, 18-5247 (D.C. Cir. Mar. 6, 2019); Straw v. Supreme Court, No.
18-cv-00299 (UNA) (D.D.C. dismissed Mar. 26, 2018), aff’d, (D.C. Cir. Oct. 10, 2018).
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States, and the ADA does not generally apply to the federal government. See Emrit v. Nat’l

Institutes of Health, 157 F. Supp. 3d 52, 56 n.3 (D.D.C. 2016) (citing 42 U.S.C. § 12111(2),

(5)(B)(i)). 2 He also attempts to bring constitutional claims for violations of the First, Fifth,

Eleventh, and Fourteenth Amendments, under the auspices of the FTCA, see id. at 7–9, 12, 13,

20, but the FTCA does not waive sovereign immunity of United States for constitutional claims.

Helton v. United States, 191 F. Supp. 2d 179, 180 (D.D.C. 2002) (citing FDIC v. Meyer, 510

U.S. 471, 477–78 (1994)).

       For these reasons, the Court dismisses this case for lack of subject matter jurisdiction, see

Fed. R. Civ. P. 12(h)(3). 3 A separate order accompanies this memorandum opinion.




                                               ___________________________
                                                  DABNEY L. FRIEDRICH
                                                 United States District Judge
DATE: October 15, 2020




2
 The plaintiff has also failed to properly plead that he is disabled pursuant to the ADA. See Singh
v. Geo. Wash. Univ. School of Medicine and Health Sciences, 597 F. Supp. 2d 89, 94–5 (D.D.C.
2009).
3
 To the extent that the plaintiff challenges Indiana’s “general rules and regulations governing
admission,” Powell, 543 F. Supp. at 1048, federal jurisdiction may exist, but he must sue the
defendants who are responsible for promulgating those rules, and he must do so in the proper
forum. See generally 28 U.S.C. §§ 1391(b), § 1406(a).
